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United States District Court

Western District of Tennessee _ j …1 c
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-"\”-FJ C'»'”~" 'é`N. inmates

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United States of America )
)
vs )
) _
Charlotte Shanell Crawf`ord ) Case No. 04-20464-002-}) / 04-20471-003-D

CONSENT TO MODIFY CONDITIONS OF RELEASE

I, Charlotte Shanell Crawford. have discussed with Jake N. Bookard, II, Pretrial Services
Officer, modification of my release conditions as follows:

l. Electronic Monitoring with home detention conditions to be determined by the U.S.
Probation/Pretrial Services Of`fice

2. No contact directly or indirectly with co-defendants

3. Def`endant is allowed to travel with children to and from Le Bonheur Children’s Medical
Center, Memphis, TN, for blood transfusions. Def`endant is allowed to stay with children
during procedure

I consent to this modification of my release conditions and agree to abide by this modification

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Sign ature of Dcf`endant Uate PrAal Services/'Probation Ofiicer Date

l have reviewed the conditions with my client and concur that this modification is appropriate

Signature of Defense Counsel Date

 

 

[¢]»'Fh’e above modification of conditions of release is ordered, to be effective on .S'_'/'?»dlf

[ ] The above modification of conditions of release is n_ot ordered.

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Notice of Distribution

This notice confirms a copy of` the document docketed as number 73 in
case 2:04-CR-20464 Was distributed by f`aX, mail, or direct printing on
May 19, 2005 to the parties listed.

ENNESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

